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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3:25-MJ-00168
                                                                   )
                   DENI JUNGIC WOLF                                )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    June 16, 2025               in the county of             Multnomah        in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 111(a)(1) and (b)                   Assaulting a federal officer which causes bodily injury




         This criminal complaint is based on these facts:
See attached affidavit of FBI Special Agent Benjamin Braverman




          Continued on the attached sheet.
         u

                                                                                                  /s/ By Phone
                                                                                              Complainant’s signature

                                                                                  Benjamin Braverman, Special Agent, FBI
                                                                                               Printed name and title

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Date:             06/18/2025
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                      STACIE F. BECKERMAN, U.S. Magistrate Judge
                                                                                               Printed name and title
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DISTRICT OF OREGON, ss:                 AFFIDAVIT OF Benjamin J. Braverman

               Affidavit in Support of a Criminal Complaint and Arrest Warrant

        I, Benjamin J. Braverman, being duly sworn, do hereby depose and state as follows:

                               Introduction and Agent Background

        1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been since April 2023. My current assignment is with the FBI Portland Field Office, Violent

Incident Crimes - Domestic, investigating a variety of criminal and national security matters.

These include the investigation of violent crimes and major offenses such as threats to human

life, threats to national infrastructure, efforts to use violence in support of, or to counter a

particular ideology, acts of violence impacting interstate commerce, crimes against children, and

other violent criminal matters. My training and experience include a variety of investigative and

legal matters, including the topics of Fourth Amendment searches, the drafting criminal

complaints, and probable cause.

        2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Deni Jungic Wolf for Assaulting a Federal Officer and inflicting bodily injury in violation of 18

U.S.C. § 111(a)(1) and (b). As set forth below, there is probable cause to believe, and I do

believe, that Wolf committed Assaulting a Federal Officer, in violation of 18 U.S.C. § 111(a)(1)

and (b).

        3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge; information obtained from other individuals during my participation in this

investigation, including other law enforcement officers; interviews of witnesses; my review of

records related to this investigation; communication with others who have knowledge of the

events and circumstances described herein; and information gained through my training and
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experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in § 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under § 111(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years. Assaulting a federal officer which results in bodily injury is punishable by up to 20

years’ imprisonment. The statute does not define “bodily injury” however 18 U.S.C. §

1365(h)(4) has been interpreted to define bodily injury to mean: (A) a cut, abrasion, or bruise,

(B) physical pain, or (C) any other injury to the body, no matter how temporary.

                                   Statement of Probable Cause

                        June 2025: Protests at the Portland ICE Building

       5.      Over the course of several days during the week of June 8, 2025, protesters

assembled in front of and around the Immigration and Customs Enforcement (ICE) building in

the South Waterfront neighborhood of Portland, Oregon. The ICE building is located at 4310 SW

Macadam Avenue, with access to the building on South Boundary Street. During daylight hours,

some of the attendees at the demonstration have harassed both ICE clients and employees by
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following them with cameras making disparaging remarks and threatening statements, including

stating that that they know where the target lives or that they will find the target of the

harassment. Many of these individuals dress in all black clothing, commonly referred to as

“black bloc.” Black bloc can prevent identification of individual actors by authorities. After

nightfall, the attendees generally become more aggressive, damaging personal and government

property, and throwing items toward federal law enforcement officers working at the building.

The violence toward officers has included discharging pepper spray at officers as well as

throwing rocks, trash, and bricks pulled from the ICE facility’s driveway.

                 June 16, 2025: Protesters Erect Barricade on Federal Property

       6.      On June 16, 2025, at approximately 11:00pm. Federal Protective Service (FPS),

Immigration and Customs Enforcement (ICE), and Border Patrol officers were conducting a shift

change which required the facility’s gate to be opened for vehicles to exit. Approximately 25

people with masks, goggles, and ad-hoc shields lined up in the driveway of the facility on federal

property facing the facility vehicle gate. Using a Long-Range Acoustic Device (LRAD), FPS

announced the following message to the crowd, “This is the Federal Protective Service. The

facility is closed and not open to the public. Stay out of the area of the driveway to allow for

vehicular traffic. Remain on the sidewalk or across the street. Anyone, to include the press,

trespassing on federal property is subject to arrest.” Officers opened the gate and advanced on

the protestors at a slow rate to allow for compliance.

                            Federal Officers Move to Clear Barricade

       7.      The gate was opened and a line of officers with shields advanced on the crowd to

clear the driveway for exiting law enforcement vehicles. The crowd had organized themselves in


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a line with shields facing the officers. When the two lines met in the driveway the trespassers

pushed against the officers, held firm in place, or attempted to pull officer’s shields down.

                          Wolf Assaults Federal Officer Causing Bodily Injury

          8.                           (hereinafter “Victim Officer” or “VO”) and Border Patrol

Agents made up a front line of shields with ICE officers in a line behind them. The VO was in a

third line with other FPS officers and was carrying a MK09 OC canister1. The VO saw when

Deni Jungic Wolf encountered the officers’ shield line and that Wolf pushed into the shields with

his body. The VO said Wolf was falling and he grabbed Wolf by the backpack and shirt.

          9.       Wolf was swinging his arms and punching the VO in the helmet with his fists,

pushing the VO’s gas mask askew, breaking the air seal. The VO was breathing hard and sucked

in a large amount of OC spray and Pepperball dust. The VO said Wolf fell back and “donkey-

kicked” the VO in the shin with his boots. Two officers assisted the VO in taking Wolf into

custody who resisted being put into handcuffs but eventually ceased struggling once both

handcuffs were applied. The VO advised he vomited the contents of his stomach due to the OC

and Pepperball dust exposure and dry-heaved or vomited approximately 30 times. The VO

continued to have a burning sensation that lasted for several hours after initial exposure.

          10.      I have reviewed images related to the night Wolf assaulted VO. Depicted below

is an image from a video recording from June 16, 2025, in the moments before VO was

assaulted. The officers are on the lower left side of the image, and the protesters holding the

improvised shield wall (on the upper right side of the image) are on federal property:




1
    “OC” is an acronym for oleoresin capsicum more commonly known as “Pepper Spray.”
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The video also indicates that VO was struck and punched by an individual wearing red gloves. A

screen grab from the video depicting the red gloves (on left, circled in red) and is depicted below:




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Below are images taken after Wolf’s arrest, including the red gloves, and an image of the knife

he carried at the time of his arrest:




                                             Conclusion

        10.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Deni Jungic Wolf committed Assaulting a Federal Officer in violation of 18 U.S.C. § 111(a)(1)

and (b). I therefore request that the Court issue a criminal complaint and arrest warrant for Deni

Jungic Wolf.

        11.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney Paul Maloney, and

AUSA Maloney advised me that in their opinion the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.

                                         Request for Sealing

        12.     It is respectfully requested that the Court issue an order sealing, until further order

of the Court, all papers submitted in support of the requested criminal complaint and arrest

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warrant. I believe that sealing these documents is necessary because the information to be seized

is relevant to an ongoing investigation, and any disclosure of the information at this time may

cause destruction of or tampering with evidence, cause intimidation of potential witnesses, or

otherwise seriously jeopardize an investigation. Premature disclosure of the affidavit, the

criminal complaint, and the arrest warrant may adversely affect the integrity of the investigation.



                                                     /s/ Signed by Telephone
                                                     Benjamin J. Braverman
                                                     Special Agent, FBI


       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

________________
     8:20        a.m./p.m. on _______________,
                                  June 18         25
                                               20____.


                                                     ________________________________
                                                     HONORABLE STACIE F. BECKERMAN
                                                     United States Magistrate Judge




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